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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:20-cv-2842

  FALLEN PRODUCTIONS, INC.,
  HUNTER KILLER PRODUCTIONS, INC.,
  RAMBO V PRODUCTIONS, INC.,
  LHF PRODUCTIONS, INC.,
  MILLENNIUM FUNDING, INC.,
  HB PRODUCTIONS, INC.,
  STOIC PRODUCTIONS, INC.,
  VOLTAGE HOLDINGS, LLC,
  GUNFIGHTER PRODUCTIONS, LLC,
  SF FILMS, LLC,
  DEFINITION DELAWARE, LLC, and
  AFTER PRODUCTIONS, LLC,

            Plaintiffs,

  v.

  STEPHEN MOODY,
  WILLIAM NELSON, and
  TY TIDWELL.

            Defendants.


                              COMPLAINT AND JURY DEMAND


            Plaintiffs Fallen Productions, Inc., Hunter Killer Productions, Inc., Rambo V

  Productions, Inc., LHF Productions, Inc., Millennium Funding, Inc., HB Productions, Inc.,

  Stoic Productions, Inc.; Voltage Holdings, LLC, Gunfighter Productions, LLC, SF Film,

  LLC, Definition Delaware, LLC and After Productions, LLC (“Plaintiffs”) file this Complaint

  against Defendants Stephen Moody, William Nelson, and Ty Tidwell (“Defendants”) and

  allege as follows:


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                               I.      NATURE OF THE ACTION

            1.   This matter arises under the United States Copyright Act of 1976, as

  amended, 17 U.S.C. §§ 101, et seq. (the “Copyright Act”).

            2.   The Plaintiffs allege that Defendants are liable for: (1) direct and

  contributory copyright infringement in violation of 17 U.S.C. §§ 106 and 501; and (2)

  violations under the Digital Millennium Copyright Act, 17 U.S.C. § 1202.

                              II.     JURISDICTION AND VENUE

            3.   This Court has subject matter jurisdiction over this action pursuant to 17

  U.S.C. §§ 101, et. seq., (the Copyright Act), 28 U.S.C. § 1331 (federal question) and 28

  U.S.C. § 1338 (patents, copyrights, trademarks, and unfair competition).

            4.   Defendants either reside in, solicit, transact, or are doing business within

  this jurisdiction, and have committed unlawful and tortious acts both within and outside

  this jurisdiction with the full knowledge that their acts would cause injury in this jurisdiction.

  As such, Defendants have sufficient contacts with this judicial district to permit the Court’s

  exercise of personal jurisdiction over them.

            5.   Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) - (c)

  because: (a) all or a substantial part of the events or omissions giving rise to the claims

  occurred in this District; and, (b) the Defendants reside or resided, and therefore can or

  could be found, in this State. Additionally, venue is proper in this District pursuant 28

  U.S.C. § 1400(b (venue for copyright cases), because the Defendants or Defendants’

  agents resides and can be found in this District.

                                         III.    PARTIES

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                                        A. The Plaintiffs
            6.    The Plaintiffs are owners of the copyrights for the motion pictures

  (“Works”), respectively, as shown in Exhibit “1”.

            7.    Plaintiffs Hunter Killer Productions, Inc., Fallen Productions, Inc., Rambo V

  Productions, Inc., LHF Productions, Inc., Millennium Funding, Inc., HB Productions, Inc.,

  and Stoic Productions, Inc. are corporations organized under the laws of the State of

  Nevada, having principal offices in Los Angeles, California and are affiliates of Millennium

  Media, a production company and distributor of a notable catalog of major motion

  pictures.

            8.    Voltage Holdings, LLC and After Productions, LLC are limited liability

  companies registered under the laws of the State of California and having principal

  offices in Los Angeles, California.

            9.    Definition Delaware, LLC is a limited liability company registered under the

  laws of Delaware and a having principal office in Delaware.

            10.   SF Film, LLC is a limited liability company registered under the laws of the

  State of New York and having a principal office in New York County of New York.

            11.   Gunfighter Productions, LLC is a limited liability company registered under

  the laws of the State of Louisiana and having domicile address in Baton Rouge,

  Louisiana.

            12.   Voltage Holdings, LLC; Gunfighter Productions, LLC; SF Film, LLC;

  Definition Delaware, LLC; and After Productions, LLC are affiliates of Voltage Pictures,

  a production company with a notable catalog of major award-winning motion pictures.

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                                          B. The Defendants

            13.   Upon information and belief, Defendants are individuals residing in

  Colorado.

            14.   Each Defendant registered for an account with a website known as YTS

  (“YTS website”) using an email address from an Internet Protocol (“IP”) address as

  shown in Exhibit “2”.

            15.   The YTS website is currently accessible at YTS.MX and was previously

  accessible at YTS.AM, YTS.AG and YTS.LT.

            16.   The YTS website is known for distributing torrent files of copyright protected

  motion pictures.




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            17.   In stipulated judgments resolving lawsuits filed in the District of Hawaii, the

  operators of the YTS website, Senthil Segaran and Techmodo Limited, conceded that

  one or more third parties uploaded torrent files of the motion pictures Once Upon a Time

  in Venice, Mechanic: Resurrection, Hunter Killer, Extremely Wicked Shockingly Evil and

  Vile, and Hellboy to the YTS website and that the YTS website provided links for

  distributing the torrent files. See Venice PI, LLC et al. v. NGUYEN DINH MANH, et al.,

  1:19-cv-169-LEK-KJM, Doc. #77; Wicked Nevada, LLC vs. Senthil Vijay Segaran, 1:19-

  cv-413-SOM-KJM, Doc. #25; and HB Productions, Inc. vs. Senthil Vijay Segaran, 1:19-

  cv-389-ACK-KJM, Doc. #51.

            18.   The Defendants are members of a group of BitTorrent users or peers

  whose computers are collectively interconnected for the sharing of a particular unique

  file, otherwise known as a “swarm”. The particular file a BitTorrent swarm is associated

  with has a unique “hash” number and a file name.


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            19.     Defendants distributed at least a piece of a copy of the motion picture

  Hunter Killer to individuals (Does 1-9) at IP addresses in Colorado including but not

  limited to one or more of those shown below:

                                                 YTS website Registered
            NAME               IP Address              email address
            Doe 1            207.189.30.153      graXXXXXX@hotmail.com
            Doe 2           174.128.227.226       jclaXXXXXX@gmail.com
            Doe 3            75.166.163.237       panXXXXXX@gmail.com
            Doe 4            161.97.220.38         sksXXXXXX@mac.com
            Doe 5            67.217.10.184       eriXXXXXX@hotmail.com
            Doe 6            74.118.90.234        djrXXXXXX@yahoo.com
            Doe 7           174.128.243.122      schXXXXXX2@gmail.com
            Doe 8            174.128.236.98     mikXXXXXX@graystarr.com
            Doe 9             73.95.133.25         rarXXXXXX@gmail.com
            20.     Each of the above Does 1-9 also registered for an account with the YTS

  website using an email address (partially redacted above), downloaded the Hunter Killer

  torrent file from the YTS website, and reproduced, shared and distributed copies of the

  motion picture Hunter Killer as well as many other copyright protected Works from the IP

  addresses in Colorado.

            21.     Upon information and belief, Each of the Defendants received from

  Plaintiffs’ agent at least a first notice per 17 U.S.C. 512(a) of the Digital Millennium

  Copyright Act (“DMCA notice”) requesting the individual to stop infringement of the Work

  or other Works via BitTorrent protocol.

                                       Defendant Stephen Moody

            22.     Defendant Stephen Moody is an adult individual residing, upon information

  and belief, in Aurora, Colorado.

            23.     Defendant Stephen Moody entered the name “Stephen Moody” and the
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  state      “Colorado”    when     initially   registering   for   his      email   address

  “stephenhifi@hotmail.com” on or about June 4, 1999.

            24.   Defendant Stephen Moody registered for an account with the YTS website

  using his email address “stephenhifi@hotmail.com”.

            25.   Defendant Stephen Moody logged on to check his email at the email

  address multiple times from IP address 73.153.233.238.

            26.   Defendant Stephen Moody used the YTS account to download a torrent file

  associated with the motion picture Angel Has Fallen on 11/25/2019 from IP address

  73.153.233.238. See pg. 6 of Exhibit “2”.

            27.   Defendant Stephen Moody downloaded, reproduced and shared copies of

  the motion picture Angel Has Fallen under file name “Angel Has Fallen (2019) [BluRay]

  [720p] [YTS.LT]” on 11/25/2019. See Exhibit “3”.

            28.   Upon information and belief, Defendant Stephen Moody used the YTS

  account to download a torrent file for the motion picture Hunter Killer.

            29.   Defendant Stephen Moody downloaded, reproduced and shared copies of

  the motion picture Hunter Killer under file name “Hunter Killer (2018) [BluRay] [1080p]

  [YTS.AM]” multiple times on January 29, 2019. See Exhibit “3”.

            30.   Defendant Stephen Moody has ignored repeated communications from

  Plaintiffs’ counsel requesting him to cease and desist his unlawful activity and pay a

  portion of Plaintiffs’ damages.

                                     Defendant William Nelson

            31.   Defendant William Nelson is an adult individual residing, upon information

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  and belief, in Denver, Colorado.

            32.   Defendant William Nelson entered the name “William Nelson” and the state

  “Colorado” when initially registering for his email address “wlnelson6@hotmail.com” on

  September 26, 2000.

            33.   Defendant William Nelson registered for an account with the YTS website

  using the email address “wlnelson6@hotmail.com”.

            34.   Upon information and belief, Defendant William Nelson chose the

  username “sorcerer” for his YTS website account, and often commented on movies on

  the YTS website using this username.




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            35.      Defendant William Nelson logged on to check his email at the email

  address         multiple   times   from   IP   addresses   89.187.178.220,   89.187.177.135,

  64.33.78.157, and 5.62.59.59.

            36.      Defendant William Nelson used the YTS account to download a torrent file

  associated with the motion picture Hunter Killer on 1/19/2019 from IP address

  89.187.178.220. See pg. 3 of Exhibit “2”.

            37.      Defendant William Nelson used the YTS account to download a torrent file

  associated with the motion picture Extremely Wicked, Shockingly Evil and Vile on

  11/26/2019 from IP address 89.187.178.220. See pg. 7 of Exhibit “2”.

            38.      Defendant William Nelson used the YTS account to download a torrent file

  associated with the motion picture The Last Full Measure (owned by non-Party Screen

  Media Ventures, LLC) on 1/21/2020 from IP address 89.187.178.158. See pg. 9 of

  Exhibit “2”.

            39.      Upon information and belief, Defendant William Nelson used the YTS

  account to download torrent files associated with the motion pictures Angel Has Fallen,

  The Professor And The Madman, After, Acts Of Vengeance, Blunt Force Trauma, Skin,

  Disturbing the Peace, Once Upon a Time in Venice, Rambo V: Last Blood, London Has

  Fallen, Hellboy and Mechanic: Resurrection.

            40.      As shown in Exhibit “4”, Defendant William Nelson, from IP addresses

  89.187.178.158, 89.187.178.220, 89.187.177.135, 64.33.78.157, and 5.62.59.59

  downloaded, reproduced and shared copies of the motion pictures Angel Has Fallen,

  The Professor And The Madman, The Last Full Measure, Hunter Killer, After, Extremely

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   Wicked       Shockingly Evil And Vile, Acts Of Vengeance, Blunt Force Trauma, Skin,

   Disturbing the Peace, Once Upon a Time in Venice, Rambo V: Last Blood, London Has

   Fallen, Hellboy and Mechanic: Resurrection under the following file names:

         Motion                                     File Names
         Picture

                              (1) “Angel Has Fallen (2019) [WEBRip] [720p] [YTS.LT]”;
       Angel Has                               (2) “[ OxTorrent.com ]
         Fallen                 Angel.Has.Fallen.2019.MULTi.1080p.BluRay.x264.AC3-
                                                    EXTREME.mkv”

                                “Hunter Killer (2018) [WEBRip] [1080p] [YTS.AM]”
      Hunter Killer
                            “The Professor And The Madman (2019) [WEBRip] [720p]
     The Professor                                [YTS.AM]”
       And The
       Madman
                                    (1) “After (2019) [BluRay] [1080p] [YTS.LT]”;
             After                 (2) “After.2019.1080p.WEBRip.x264-RARBG”;
                                   (3) “After (2019) [WEBRip] [1080p] [YTS.LT]”;
                                     (4) “After (2019) [BluRay] [720p] [YTS.LT]”
                         (1) “Extremely Wicked Shockingly Evil And Vile (2019) [BluRay]
      Extremely                                    [720p] [YTS.LT]”;
       Wicked            (2) “Extremely Wicked Shockingly Evil And Vile (2019) [BluRay]
    Shockingly Evil                                [1080p] [YTS.LT]”
       And Vile
                             (1) “Acts Of Vengeance (2017) [WEBRip] [720p] [YTS.LT]”;
       Acts Of               (2) “Acts Of Vengeance (2017) [WEBRip] [720p] [YTS.LT]”
      Vengeance
                              “Blunt Force Trauma (2015) [BluRay] [720p] [YTS.LT]”
      Blunt Force
        Trauma
             Skin                  (1) “Skin (2018) [BluRay] [720p] [YTS.LT]”;
                                   (2) “Skin (2018) [BluRay] [1080p] [YTS.LT]”.

                                (1) “Disturbing The Peace (2020) [1080p] [BluRay] [5.1]
     Disturbing the                                    [YTS.MX]”;
         Peace             (2) “Disturbing The Peace (2020) [720p] [BluRay] [YTS.MX]”
                                  “Once Upon A Time In Venice (2017) [YTS.AG]”
     Once Upon a
    Time in Venice
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                                   (1) “Rambo Last Blood (2019) [BluRay] [1080p] [YTS.LT]”;
    Rambo V: Last
       Blood                    (2) “Rambo.Last.Blood.2019.720p.HC.HDRip.800MB.x264-
                                                    GalaxyRG[TGx]”;
                                                        (3)
                             “Rambo.Last.Blood.2019.1080p.KORSUB.HDRip.x264.AAC2.0-
                                                  STUTTERSHIT”;
                             (4) “Rambo.Last.Blood.2019.1080p.BluRay.H264.AAC-RARBG”
                                    “London Has Fallen (2016) [1080p] [YTS.AG]”
      London Has
        Fallen
                                    “Mechanic Resurrection (2016) [1080p] [YTS.AG]”
      Mechanic:
     Resurrection
         Hellboy                       “Hellboy (2019) [BluRay] [1080p] [YTS.LT]”
     The Last Full          (1) “The Last Full Measure (2019) [WEBRip] [1080p] [YTS.LT]”;
       Measure            (2) “The Last Full Measure (2019) [WEBRip] [720p] [YTS.LT]”
             41.   Defendant William Nelson used a Virtual Private Network (“VPN”) service

   associated      with   the    ISP   Datacamp    limited   (IP   addresses   89.187.178.158,

   89.187.178.220 and 89.187.177.135) to try to conceal his illicit activities.

             42.   Defendant William Nelson has ignored repeated communications from

   Plaintiffs’ counsel requesting him to cease and desist his unlawful activity and pay a

   portion of Plaintiffs’ damages.

                                           Defendant Ty Tidwell

             43.   Upon information and belief, Defendant Ty Tidwell is a resident of Pueblo,

   Colorado.

             44.   Defendant Ty Tidwell registered for an account with the YTS website using

   the email address “adx_broncosfan@msn.com”.

             45.   Defendant Ty Tidwell entered the name “Ty Tidwell” and the state


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   “Colorado” when initially registering for the email address “adx_broncosfan@msn.com”

   on March 3, 2005.

             46.   Defendant Ty Tidwell logged on to check his email at the email address

   multiple times from IP address 71.62.71.209.

             47.   Defendant Ty Tidwell used the YTS account to download a torrent file

   associated with the motion picture Angel Has Fallen on 11/26/2019 from IP address

   71.62.71.209. See pg. 5 of Exhibit “2”.

             48.   Upon information and belief, Defendant Ty Tidwell used the YTS account

   to download torrent files associated with the motion picture Hunter Killer.

             49.   Defendant Ty Tidwell, from IP address 71.62.71.209, downloaded,

   reproduced and shared copies of the motion picture Hunter Killer under the file name

   “Hunter Killer (2018) [BluRay] [720p] [YTS.AM]” on 2/3/2019. See Exhibit “5”.

             50.   Defendant Ty Tidwell has ignored repeated communications from Plaintiffs’

   counsel requesting him to cease and desist his unlawful activity and pay a portion of

   Plaintiffs’ damages.

                                          IV.     JOINDER

             51.   Pursuant to Fed. R. Civ. P. 20(a)(1), each of the Plaintiffs are properly joined

   because, as set forth in detail above and below, the Plaintiffs assert: (a) a right to relief

   arising out of the same transaction, occurrence, or series or transactions, namely the use

   of the YTS website by Defendants for copying and distributing Plaintiffs’ Works; and (b)

   that there are common questions of law and fact.

             52.   Pursuant to Fed. R. Civ. P. 20(a)(2), each of the Defendants was properly

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   joined because, as set forth in more detail below, the Plaintiffs Hunter Killer Productions,

   Inc. and Fallen Productions, Inc. assert that the infringement of their Works Hunter Killer

   and Angel Has Fallen complained of herein by each of the Defendants was accomplished

   by the Defendants using the same YTS website; and there are common questions of law

   and fact. Moreover, the infringements of the Work Hunter Killer complained of herein by

   each of the Defendants was part of a series of transactions over the course of a relatively

   short period of time, involving the exact same piece of the Work, and, upon information

   and belief, was accomplished by the Defendants acting in concert with each other.

                                V.     FACTUAL BACKGROUND

             A. The Plaintiffs Own the Copyrights to the Works


             53.   The Plaintiffs are the owners of the copyright in the Works, respectively.

   The Works are the subjects of copyright registrations, and this action is brought pursuant

   to 17 U.S.C. § 411. See Exhibit “1”.

             54.   Defendants had notice of Plaintiffs’ rights through at least the credits

   indicated in the content of the motion pictures which bore proper copyright notices.

             55.   Defendants also had notice of Plaintiffs’ rights through general publication

   and advertising associated with the motion pictures, and packaging and copies, each of

   which bore a proper copyright notice.

             56.   The Works are motion pictures currently offered for sale in commerce.

             57.   For example, a Blu-ray copy of the Work Hunter Killer was recently

   available for sale at the retail store Walmart in Aurora, Colorado for $17.19, a price which

   is reflective of the nationwide price at Walmart for the Work.
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             58.   The YTS website provides torrent files, many including the name “YTS” in

   their file names, that can be used by a BitTorrent protocol client application to download

   copyright protected content, including Plaintiffs’ Works.

             59.   Defendants used the YTS website to download the torrent file “Hunter Killer

   (2018) [BluRay] [720p] [YTS.AM]” associated with Plaintiff Hunter Killer’s Work.

             60.   The Defendants knew the torrent file they downloaded would be used to

   illegally download and share copies of the Work.

             61.   The YTS website displays, “WARNING! Download only with VPN…” and

   further information warning users that their IP address is being tracked by the ISP and

   encouraging them to protect themselves from expensive lawsuits by purchasing service

   from a VPN on its homepage. Upon information and belief, this warning has appeared

   on the YTS website since at least 2018.




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             B. Defendants Used BitTorrent To Infringe the Plaintiffs’ Copyrights.

             62.    BitTorrent is one of the most common peer-to-peer file sharing protocols

   (in other words, set of computer rules) used for distributing large amounts of data.

             63.    The BitTorrent protocol’s popularity stems from its ability to distribute a

   large file without creating a heavy load on the source computer and network. In short, to

   reduce the load on the source computer, rather than downloading a file from a single

   source computer (one computer directly connected to another), the BitTorrent protocol

   allows users to join a "swarm" of host computers to download and upload from each

   other simultaneously (one computer connected to numerous computers).


             1. Defendants installed a BitTorrent Client onto his or her Computer.


             64.    A BitTorrent Client is a software program that implements the BitTorrent

   Protocol.       There are numerous such software programs which can be directly

   downloaded from the Internet.

             65.    Once installed on a computer, the BitTorrent Client serves as the user’s

   interface during the process of uploading and downloading data using the BitTorrent

   protocol.

             66.    Each of Defendants installed a BitTorrent Client onto his computer.

             2. The Initial Seed, Torrent, Hash and Tracker

             67.    A BitTorrent user that wants to upload the new file, known as an “initial
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   seeder,” starts by creating a “torrent” descriptor file using, for example, the Client he or

   she installed onto his or her computer.

             68.   The initial user or seeder of a file used a process referred to as “ripping” to

   create a copy of motion pictures from either Blu-ray or legal streaming services.

             69.   The initial seeder often modifies the file title of the Work to include a

   wording such as “RARBG” or “YTS” in the title of the torrent files and file copies in order

   to enhance a reputation for the quality of his or her torrent files and attract users to his

   or her piracy website.

             70.   The Client takes the target computer file, the “initial seed,” here the

   copyrighted Work, and divides it into identically sized groups of bits known as “pieces.”

             71.   The Client then gives each one of the computer file’s pieces, in this case,

   pieces of the copyrighted Work, a random and unique alphanumeric identifier known as

   a “hash” and records these hash identifiers in the torrent file.

             72.   When another peer later receives a particular piece, the hash identifier for

   that piece is compared to the hash identifier recorded in the torrent file for that piece to

   test that the piece is error-free. In this way, the hash identifier works like an electronic

   fingerprint to identify the source and origin of the piece and that the piece is authentic

   and uncorrupted.

             73.   Torrent files also have an "announce" section, which specifies the URL

   (Uniform Resource Locator) of a “tracker,” and an "info" section, containing (suggested)

   names for the files, their lengths, the piece length used, and the hash identifier for each

   piece, all of which are used by Clients on peer computers to verify the integrity of the

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   data they receive.

             74.   The “tracker” is a computer or set of computers that a torrent file specifies

   and to which the torrent file provides peers with the URL address(es).

             75.   The tracker computer or computers direct a peer user’s computer to other

   peer user’s computers that have particular pieces of the file, here the copyrighted Work,

   on them and facilitates the exchange of data among the computers.

             76.   Depending on the BitTorrent Client, a tracker can either be a dedicated

   computer (centralized tracking) or each peer can act as a tracker (decentralized

   tracking.)

             3. Torrent Sites

             77.   “Torrent sites” are websites that index torrent files that are currently being

   made available for copying and distribution by people using the BitTorrent protocol.

   There are numerous torrent websites including the YTS website.

             78.   Defendants went to torrent sites including the YTS website to upload and

   download Plaintiffs’ copyrighted Works.

             4. The Peer Identification

             79.   The BitTorrent Client will assign an identification referred to as a Peer ID

   to the computer so that it can share content (here the copyrighted Work) with other peers.

             80.   Each Defendant was assigned a Peer ID by their BitTorrent client.

             5. Uploading and Downloading a Work Through a BitTorrent Swarm

             81.   Once the initial seeder has created a torrent and uploaded it onto one or

   more torrent sites, then other peers begin to download and upload the computer file to

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   which the torrent is linked (here the copyrighted Work) using the BitTorrent protocol and

   BitTorrent Client that the peers installed on their computers.

             82.   The BitTorrent protocol causes the initial seeder’s computer to send

   different pieces of the computer file, here the copyrighted Work, to the peers seeking to

   download the computer file.

             83.   Once a peer receives a piece of the computer file, here a piece of the

   copyrighted Work, it starts transmitting that piece to the other peers.

             84.   In this way, all of the peers and seeders are working together in what is

   called a “swarm.”

             85.   Here, Defendants participated in a swarm and directly interacted and

   communicated with other members of that swarm through digital handshakes, the

   passing along of computer instructions, uploading and downloading, and by other types

   of transmissions.

             86.   In this way, and by way of example only, one initial seeder can create a

   torrent that breaks a movie up into hundreds or thousands of pieces saved in the form of

   a computer file, like the Works here, upload the torrent onto a torrent site, and deliver a

   different piece of the copyrighted Work to each of the peers. The recipient peers then

   automatically begin delivering the piece they just received to the other peers in the same

   swarm.

             87.   Once a peer has downloaded the full file, the BitTorrent Client reassembles

   the pieces and the peer is able to view the movie. Also, once a peer has downloaded the

   full file, that peer becomes known as “an additional seed,” because it continues to

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   distribute the torrent file, here the copyrighted Work.

             6. The Plaintiffs’ Computer Investigator Identified the Defendants’ IP

             Addresses as Participants in Swarms That Were Distributing Plaintiffs’

             Copyrighted Works.

             88.   The Plaintiffs retained Maverickeye UG (“MEU”) to identify the IP

   addresses that are being used by those people that are using the BitTorrent protocol and

   the Internet to reproduce, distribute, display or perform the Plaintiff’s copyrighted Work.

             89.   MEU used forensic software to enable the scanning of peer-to-peer

   networks for the presence of infringing transactions.

             90.   MEU extracted the resulting data emanating from the investigation,

   reviewed the evidence logs, and isolated the transactions and the IP addresses

   associated therewith for the files identified by the SHA-1 hash value of the Unique Hash

   Number.

             91.   The IP addresses, Unique Hash Numbers, and hit dates contained in

   Exhibits 3-5 accurately reflect what is contained in the evidence logs.

             92.   The logged information in Exhibits 3-5 show that Defendants copied pieces

   of the Plaintiffs’ copyrighted Works identified by the Unique Hash Numbers.

             93.   The Defendants’ computers used the identified IP addresses in Exhibits 3-

   5 to connect to the investigative server from a computer in this District in order to transmit

   a full copy, or a portion thereof, of a digital media file identified by the Unique Hash

   Number.

             94.   MEU’s agent analyzed each BitTorrent “piece” distributed by the IP

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   addresses listed on Exhibits 3-5 and verified that re-assemblage of the pieces using a

   BitTorrent Client results in a fully playable digital motion picture of the Works.

             95.    MEU’s agent viewed the Works side-by-side with the digital media file that

   correlates to the Unique Hash Number and determined that they were identical, strikingly

   similar or substantially similar.

             C. Defendants knew the Copyright Management Information included in the

             files they distributed to other peers had been removed or altered without the

             authority of Plaintiffs.

             96.    A legitimate file copy of the Works includes copyright management

   information (“CMI”) indicating the title.

             97.    The initial seeder of the infringing file copies of Plaintiffs’ Works added

   wording to the file titles to “brand” the quality of piracy files he or she released and attract

   further traffic to his or her website.

             98.    For example, the initial seeder of the infringing file copies of Hunter Killer

   added the wording “YTS” to the file titles to brand the quality of piracy files he or she

   released and attract further traffic to the YTS website.

             99.    The word YTS is not included in the file title of legitimate copies or streams

   of the Plaintiffs’ Works. The initial seeders of the Works altered the title to falsely include

   the words “YTS” in the CMI.

             100.   For example, the initial seeder of some the infringing file copies of After

   and Rambo V: Last Blood added the wording “RARBG” to the file titles to brand the

   quality of piracy files he or she released and attract further traffic to the RARBG piracy

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   website.

             101.   Similarly, the initial seeder of some the infringing file copies of Rambo V:

   Last Blood added the word “STUTTERSH*T” (partially redacted due to the profane

   nature of this word) to the file titles to brand the quality of piracy files he or she released

   and attract further traffic to the STUTTERSH*T piracy website.

             102.   The file copies Defendants distributed to other peers in the Swarm included

   the altered CMI in the file title.

             103.   Defendants knew that the website from which they obtained their torrent

   files was distributing illegal copies of the Works.

             104.   Defendants knew that YTS was not the author of Plaintiffs’ Works.

             105.   Defendants knew that YTS was not a licensed distributor of Plaintiffs’

   Works. Indeed, the YTS website includes a warning to this effect.

             106.   Defendants knew that the CMI that included YTS in the file names was

   false.

             107.   Defendant William Nelson knew that he CMI that included “EXTREME”,

   “RARBG”, “GalaxyRG[TGx]”, and STUTTERSHIT in the infringing file names was false.

             108.   Defendants knew that the file copies of the Works that they distributed to

   other peers in the Swarm included the altered CMI without the authority of Plaintiffs.

             109.   Defendants knew that the CMI in the title they distributed to other peers in

   the Swarm included the altered CMI without the authority of Plaintiffs.

             110.   Defendants knew that the false or altered CMI in the titles would induce,

   enable, facility or conceal infringements of the Works when they distributed the false

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   CMI, altered CMI or Works including the false or altered CMI.

             111.   Namely, Defendants knew that other recipients would see the file titles and

   use the altered CMI to go to the website such as YTS from where the torrent files

   originated to obtained unlicensed copies of the Works.

             112.   By providing the website in the altered CMI to others, Defendants induced,

   enabled and facilitated further infringements of the Works.


                                  VI. FIRST CLAIM FOR RELIEF
                                 (Direct Copyright Infringement)

             113.   Plaintiffs re-allege and incorporate by reference the allegations contained

   in each of the foregoing paragraphs.

             114.   Plaintiffs are the registered copyright owners of the Works which each

   contains an original work of authorship.

             115.   Defendants copied the constituent elements of the copyright protected

   Works Hunter Killer and Angel Has Fallen.

             116.   Defendants also publicly performed and displayed the copyright protected

   Works Hunter Killer and Angel Has Fallen.

             117.   Defendant William Nelson copied the constituent elements of the Works

   The Professor And The Madman, After, Extremely Wicked Shockingly Evil And Vile,

   Acts Of Vengeance, Skin, Disturbing the Peace, Once Upon a Time in Venice, Rambo

   V: Last Blood, London Has Fallen, Hellboy and Mechanic: Resurrection as shown in

   Exhibit “4”.

             118.   Defendant William Nelson also publicly performed and displayed the Works

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   The Professor And The Madman, After, Extremely Wicked Shockingly Evil And Vile,

   Acts Of Vengeance, Skin, Disturbing the Peace, Once Upon a Time in Venice, Rambo

   V: Last Blood, London Has Fallen, Hellboy and Mechanic: Resurrection.

             119.   By participating in the BitTorrent swarms with others, Defendants

   distributed at least a piece of the copyright protected Works Hunter Killer and Angel Has

   Fallen to others.

             120.   By participating in the BitTorrent swarms with others, Defendant William

   Nelson distributed at least a piece of each the copyright protected Works The Professor

   And The Madman, After, Extremely Wicked               Shockingly Evil And Vile, Acts Of

   Vengeance, Skin, Disturbing the Peace, Once Upon a Time in Venice, Rambo V: Last

   Blood, London Has Fallen, Hellboy and Mechanic: Resurrection to others.

             121.   Plaintiffs did not authorize, permit, or provide consent to Defendants to

   copy, reproduce, distribute, publicly perform, or display their Works.

             122.   As a result of the foregoing, Defendants violated the Plaintiffs’ exclusive

   rights to reproduce the Works in copies, in violation of 17 U.S.C. §§ 106(1) and 501.

             123.   As a result of the foregoing, Defendants violated the Plaintiffs’ exclusive

   rights to distribute copies of the Works in copies, in violation of 17 U.S.C. §§ 106(3) and

   501.

             124.   As a result of the foregoing, Defendants violated the Plaintiffs’ exclusive

   rights to perform the Works publicly, in violation of 17 U.S.C. §§ 106(4) and 501.

             125.   Defendants’ infringements were committed “willfully” within the meaning of

   17 U.S.C. § 504(c)(2).

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             126.   Each of the Plaintiffs have suffered damages that were proximately caused

   by each of the Defendants’ copyright infringements including, but not limited to lost sales,

   price erosion, and a diminution of the value of its copyright.

                                     VIII. SECOND CLAIM FOR RELIEF
                    (Contributory Copyright Infringement based upon participation in the
                                             BitTorrent Swarm)

             127.   Plaintiffs re-allege and incorporate by reference the allegations contained

   in each of the foregoing paragraphs.

             128.   By participating in the BitTorrent swarms with others, Defendants induced,

   caused or materially contributed to the infringing conduct of the copyright protected

   Works Hunter Killer and Angel Has Fallen by others.

             129.   By participating in the BitTorrent swarms with others, Defendant William

   Nelson induced, caused or materially contributed to the infringing conduct of the

   copyright protected Works The Professor And The Madman, After, Extremely Wicked

   Shockingly Evil And Vile, Acts Of Vengeance, Skin, Disturbing the Peace, Once Upon a

   Time in Venice, Rambo V: Last Blood, London Has Fallen, Hellboy and Mechanic:

   Resurrection by others.

             130.   Plaintiffs did not authorize, permit, or provide consent to the Defendants

   inducing, causing, or materially contributing to the infringing conduct of others.

             131.   Defendants knew or should have known that the other BitTorrent users in

   a swarm with them were directly infringing the Plaintiffs’ copyrighted Works by copying

   constituent elements of the registered Works that are original. Indeed, Defendants

   directly participated in and therefore materially contributed to others’ infringing activities.

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             132.   The Defendants’ infringements were committed “willfully” within the

   meaning of 17 U.S.C. § 504(c)(2).

             133.   By engaging in the contributory infringement alleged in this Complaint, the

   Defendants deprived not only the producers of the Works from income that could have

   been derived when the respective film was shown in public theaters and offered for sale

   or rental, but also all persons involved in the production and marketing of this film,

   numerous owners of local theaters and retail outlets and their employees, and, ultimately,

   the local economy. The Defendants’ misconduct therefore offends public policy.

                                      VIII. THIRD CLAIM FOR RELIEF

                              (Digital Millennium Copyright Act Violations)

             134.   Plaintiffs re-allege and incorporate by reference the allegations contained

   in each of the foregoing paragraphs.

             135.   Defendants knowingly and with the intent to induce, enable, facilitate, or

   conceal infringement of the copyright protected Works Hunter Killer and Angel Has Fallen

   distributed copyright management information (“CMI”) that falsely included the wording

   “YTS” in violation of 17 U.S.C. § 1202(a)(2).

             136.   Defendants, without the authority of Plaintiffs Hunter Killer Productions, Inc.

   and Fallen Productions., or the law, distributed removed or altered CMI knowing that the

   CMI had been removed or altered to include the wording “YTS” without the authority of

   Plaintiffs and knowing, or having reasonable grounds to know, that it will induce, enable,

   facilitate, or conceal infringement of copyright protected Works Hunter Killer and Angel

   Has Fallen in violation of 17 U.S.C. § 1202(b)(2).

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             137.   Defendants, without the authority of Plaintiffs Hunter Killer Productions, Inc.

   and Fallen Productions., or the law, distributed Plaintiffs’ Copyright protected Works

   Hunter Killer and Angel Has Fallen knowing that the CMI had been removed or altered to

   include the wording “YTS”, and knowing, or having reasonable grounds to know, that it

   will induce, enable, facilitate, or conceal infringement of the copyright protected Works in

   violation of 17 U.S.C. § 1202(b)(3).

             138.   Particularly, the Defendants knew that the CMI in the file names of the

   pieces had been altered to include the wording “YTS”.

             139.   Particularly, the Defendants distributed the file names that included CMI that

   had been altered to include the wording “YTS”.

             140.   Defendants knew that the wording “YTS” originated from the notorious

   movie piracy website for which each had registered accounts.

             141.   Defendant William Nelson knowingly and with the intent to induce, enable,

   facilitate, or conceal infringement of the copyright protected Works The Professor And

   The Madman, After, Extremely Wicked Shockingly Evil And Vile, Acts Of Vengeance,

   Skin, Disturbing the Peace, Once Upon a Time in Venice, Rambo V: Last Blood, London

   Has Fallen, Hellboy and Mechanic: Resurrection distributed CMI that falsely included the

   wording “YTS” in violation of 17 U.S.C. § 1202(a)(2).

             142.   Defendants William Nelson, without the authority of the Copyright Owner

   Plaintiffs, or the law, distributed the Copyright Owner Plaintiffs’ protected Works The

   Professor And The Madman, After, Extremely Wicked Shockingly Evil And Vile, Acts Of

   Vengeance, Skin, Disturbing the Peace, Once Upon a Time in Venice, Rambo V: Last

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   Blood, London Has Fallen, Hellboy and Mechanic: Resurrection knowing that the CMI

   had been removed or altered without the authority of Plaintiffs or the law and knowing, or

   having reasonable grounds to know, that it will induce, enable, facilitate, or conceal

   infringement of copyright protected Works in violation of 17 U.S.C. § 1202(b)(3).

             143.   Particularly, the Defendant William Nelson knew that the CMI in the file

   names of the Works The Professor And The Madman, After, Extremely Wicked

   Shockingly Evil And Vile, Acts Of Vengeance, Skin, Disturbing the Peace, Once Upon a

   Time in Venice, Rambo V: Last Blood, London Has Fallen, Hellboy and Mechanic:

   Resurrection had been altered to include the wordings “YTS”.

             144.   Particularly, the Defendant William Nelson knew that the CMI in the three

   of file names of the infringing copy of the Work Rambo V: Last Blood has been altered to

   include the wordings, “RARBG”, “STUTTERSH*T”, and “GalaxyRG[TGx]”.

             145.   Particularly, the Defendant William Nelson knew that the CMI in the one of

   file names of the infringing copy of the Work Angel Has Fallen has been altered to include

   the wordings “OxTorrent.com”.

             146.   Particularly, Defendant William Nelson distributed the file names that

   included CMI that had been altered to include the wording “YTS”, “RARBG”,

   “STUTTERSH*T”, “OxTorrent.com” and “GalaxyRG[TGx]”.

             147.   Defendants’ acts constitute violations under the Digital Millennium

   Copyright Act, 17 U.S.C. § 1202.

             148.   Plaintiff is entitled to an injunction to prevent Defendants from engaging in

   further violations of 17 U.S.C. § 1202.

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             149.   Plaintiffs are entitled to recover from Defendants the actual damages

   suffered by Plaintiffs and any profits Defendants have obtained as a result of their

   wrongful acts that are not taken into account in computing the actual damages. Plaintiffs

   are currently unable to ascertain the full extent of the profits Defendants have realized by

   their violations of 17 U.S.C. § 1202.

             150.   Plaintiffs are entitled to elect to recover from Defendants statutory damages

   for their violations of 17 U.S.C. § 1202.

             151.   Plaintiffs are further entitled to costs and reasonable attorneys’ fees.


                                       PRAYER FOR RELIEF

             WHEREFORE, the Plaintiffs respectfully requests that this Court:

             (A) enter permanent injunctions enjoining Defendants from continuing to directly

   infringe and contribute to infringement of the Plaintiffs’ copyrighted Works;

             (B) enter an order pursuant to 17 U.S.C. §512(j) and/or 28 U.S.C §1651(a) that

   any service provider providing service for Defendants which they used to infringe

   Plaintiffs’ Works immediately cease said service;

             (C) award the Plaintiffs their actual damages from the copyright infringements and

   Defendants’ profits in such amount as may be found; alternatively, at Plaintiffs’ election,

   for statutory damages per Work pursuant to 17 U.S.C. § 504(a) and (c);

             (D) award the Plaintiffs their actual damages from the DMCA violations and

   Defendants’ profits in such amount as may be found; or, in the alternative, at Plaintiffs’

   election, for statutory damages per DMCA violation pursuant to 17 U.S.C. § 1203(c) for

   violations of 17 U.S.C. § 1202;
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             (E) award the Plaintiffs their reasonable attorneys’ fees and costs pursuant to 17

   U.S.C. § 505; and

             (F) grant the Plaintiffs any and all other and further relief that this Court deems just

   and proper.

             The Plaintiffs hereby demands a trial by jury on all issues properly triable by jury.




   /s/ Kerry S. Culpepper
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   LLC; Definition Delaware, LLC; and After Productions, LLC.




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